
726 S.E.2d 831 (2012)
STATE
v.
Anthony Junior BARNHILL.
No. 191P12-1.
Supreme Court of North Carolina.
June 13, 2012.
Kathleen N. Bolton, Assistant Attorney General, for State of North Carolina.
Anthony Junior Barnhill, Lumberton, for Barnhill, Anthony Junior.
Ben David, District Attorney, for State of North Carolina.
The following order has been entered on the motion filed on the 25th of April 2012 by Defendant-Appellant for Petition for Discretionary Review:
"Motion Denied by order of the Court in conference, this the 13th of June 2012."
JACKSON, J., recused.
